
Hunt, J., dissenting.
(After stating the facts)—It is quite clear, that the evidence offered by the defendants did not establish a technical set-off. It failed in the indispensable qualification of not being a “ demand due to the defendants in their own right.” (2 Rev. St., 353, 366.) It was in form, as asserted, a demand due to one not "a party to the suit, to wit, the Bank of Sing Sing. It failed as a counterclaim, substantially, for the same reason. It was not a demand “ arising on a contract and existing in favor of the defendants against the plaintiff.” (Code, § 150.) Conceding these propositions, I am yet of the opinion that the court erred in excluding the evidence offered.
Viewing it as a question between individuals, the case before the court was simply this: The defendants were sureties that the Sing Sing Bank would pay to the People, on draft, all the money that should be deposited to its credit by the warden of the prison. There was a balance due on such deposits of $29,000. The bank, however, had advanced to the People, through the same warden, the sum of $17,000; and if the bank had been the defendant in the present suit, instead of the sureties, no more than the difference between the two sums—to wit, $12,000—could have been recovered. The sureties are claimed to be liable for their principal in the cum of $29,000, while the principal himself is hable in the sum of $17,000 only.
Every man’s sense of equity revolts at this proposition. *228It is inequitable and unjust, that a surety, always regardec with favor, should be compelled to occupy a position of greater liability than his principal. In a court of law, where justice is administered by rigid rules, and forms sometimes endanger right, the defendants would be embarrassed by the existence of the propositions laid down by the court below, that this defence was not a set-off, because it was not due to the defendants in their own right; and that it was not a counter-, claim, because it was not a demand existing in favor of the defendants, against the plaintiffs.
No such embarrassment, however, exists in a court of equity, where powers are sufficiently extensive, always to apply a remedy where a clear injustice is discovered to exist. Independently of all statutes, courts of equity, in virtue of their general jurisdiction, grant relief in cases of mutual debts or credits (Story Eq. Jur., § 1435). Thus, where there is a legal debt upon one side, and an equitable debt upon the other, and where special circumstances exist requiring such interposition, a joint debt may be set off against a separate debt, or a separate debt against a joint one (§§ 1436, 1437). “ So if one of the joint debtors is only a security for the other, he may in equity set off the separate debt due to his principal from the creditor, for in such case the joint debt is nothing more than a security for .the separate debt of the principal; and upon equitable considerations, a creditor who has a joint security for a separate debt, cannot resort to that security, without allowing what he has received on the separate account, for which the other was security.” (Id. § 1437. See also Exp. Harrison, 12 Ves., 345 ; Exp. Stephens, 11 Ves., 24.)
The bank is assumed by the proposition to have been insolvent, and if the defendants were compelled to pay this amount, the same could not be collected from the bank, though admitted to be a just debt. The defendants would be remediless.
The application of these principles relieves the case from technical difficulties, and entitles the defendants to make the proof offered. (See also Gillespie v. Torrance, 25 N. Y., 306; Code, § 150, last clause, as to the form of the defence.)
Had the parties to this action been individuals instead of *229the State being plaintiffs, upon the doctrine established by these authorities there would have been error in excluding the defence offered.
It is claimed, however, that when the State is the plaintiff, a different rule prevails, and that no demand can be set off against an established claim of the State, until it is audited by the proper accounting officers, pursuant to some statute. In then: argument upon this point, the plaintiffs insist that a demand against the State is not a debt, in the sense that it can be set off, and that it is at the most a “ mere claim upon legislative conscience and discretion.”
I cannot assent to this standard of estimating the obligation of a State or nation. The certain liquidated obligation of a State is governed by no lower rules, to say the least, than govern the obligations of individuals. It is in no sense a question of discretion nor of conscience, except of that good conscience, which requires the rigid performance of acknowledged duty. If payable at a day named, the State is then bound to meet its obligation, and if held by the citizens of a foreign country, its non-payment is just cause of war. A failure to pay, whether to its own citizens or to strangers, subjects it to a disgrace, which can only be removed by a removal of the cause. Repudiation by a nation is the equivalent of fraudulent bankruptcy by an individual. It is true that a State cannot be sued, but this only makes more imperative the duty, properly to meet all its pecuniary engagements. -
Honor, morality, and duty, require it to perform its promises; and the fact, that it cannot be arraigned in its own courts, can furnish no justification for its refusal.
Nor am I aware of any rule of law which requires the obligation of a State to be submitted to its own auditing officers before it becomes perfect. Should the State expressly enact to that effect, it would then become a question whether such enactment did not enter into the contract and form part of it. But as no such statute has been referred to, we are not called upon to examine that question. The offer here was to prove “ an indebtedness to the State ” in the sum named, and if an auditing constituted an essential element of an indebtedness, proof of such auditing would be included in the offer made.
*230Although a State cannot be sued, I think it is subject to a set-off, like individuals, when it comes into court as a plaintiff, and that both upon principle and authority. When it becomes a suitor, it waives, for the time, its dignity as a sovereign. It lays aside its strong arm, by. which it can at once enforce its own claims, and submits itself to the arbitration of the court, and to its practice and its proceedings. For this purpose it is like an individual or an inferior corporation; and becoming voluntarily a party to a suit, no good reason can be given why it should not be bound by the same rules that are applicable to other parties, in the same position. (State of Illinois v. Butterfield, 8 Paige, 535; United States v. Arredondo, 6 Peters, 711, 712; The same v. Bank of Metropolis, 15 Peters, 377.) To the same effect is the statute (3 Rev. Stat., 553 m), which enacts that where suits are brought in the name of the People» they “ shall be subject to all the provisions of law, respecting similar suits and proceedings, when instituted in the name of any citizen, except where provision is or shall be otherwise expressly made by statute; and in all such suits the People shall be liable to be nonsuited, and to have judgment of non pros, or discontinuance entered against them, in the same cases, in like manner and with the same effect as in suits brought by citizens, except that no execution shall issue thereon.” The’' State is subject to the same rules of pleading and evidence, to the same practice, will submit to be dismissed from court where an individual would be, subjects itself to a liability for costs, and makes no reservation whatever, except in the single instance that execution shall not issue against it. The costs are directed to be paid by the Comptroller upon production of the payment of the judgment record, and the certificate of the Attorney General (Ib). I have no doubt that this statute does, and was intended to subject the State to a set-off, where a set-off would exist against an individual plaintiff.
The plaintiff seeks to sustain the judgment of the court below upon the further ground that the prison warden had no right to contract any debt .with the bank for the purpose mentioned, and that therefore the evidence was properly rejected. If the evidence had been admitted, it could have been readily ascertained whether there was an indebtedness against the *231state which would properly form the subject of a set-off. We have no means of knowing what the evidence of the defendants could be. They offered to prove that “the State was indebted to the bank in the sum of $17,377 27, as alleged in the answer,” and the answer alleged the indebtedness to have arisen from money furnished by the bank to the prison warden, for the purposes of the prison. They also offered to prove that “ the same indebtedness arose from moneys borrowed by the agent of the prison, which were necessary and were used for supplies of food for the inmates of the prison.” If in any possible form, or under any conceivable circumstances, an indebtedness could have arisen from this advance of money, then the evidence of the defendants was improperly excluded. It will be observed that the offer does not state that the claim of indebtedness consists in or of the facts stated, but that it “ arose” from these facts. If the legislature, upon a full statement of the facts, had directed the payment of the money through the comptroller or treasurer, and these officers had issued their draft or acceptance promising to pay it, I doubt not that this promise would have been an indebtedness to the State, and arising out of the transaction in the answer referred, to, and would have constituted a valid set-off. Possibly a much less formal recognition would have made it a debt against the State. The defendants are entitled to every possible assumption in favor of the evidence offered to be produced by them.
It is urged, in this connection, that this defence was not available, because the bank was not a party, and would not be bound by any statement of its indebtedness thus to be made. To this, as well as to the entire objection of the want of power to create a debt which we are discussing, it is a sufficient answer, that no such objection was taken below.
The rule is, that no dilatory objection can be urged, here,, which was not taken at the trial; and the present instance illustrates the wisdom of the rule. If it had been claimed in the court below that the bank was a necessary party, the obvious remedy would have been an order that the cause stand over, for the purpose of making the bank a party. By now allowing an objection, which the party omitted to .inter*232pose at the proper time, a valuable right of the defendants would be destroyed.
The plaintiff cannot, therefore, be permitted now to urge it.
The case states, that the evidence was excluded “ solely on the ground that, in an action by the State, no counter-claim or set-off can be allowed.” The party should be held to this proposition.
I am of the opinion that the court below erred in rejecting the evidence offered, and that a. new trial should be ordered.
Porter, J., concurred in the opinion of Hunt, J.
Judgment affirmed.
